        Case 1:05-cr-00241-JD   Document 206    Filed 06/15/07   Page 1 of 1




                   UNITED STATES DISTRICT COURT FOR THE
                         DISTRICT OF NEW HAMPSHIRE


United States of America

             v.                            Criminal No. 05-cr-241-04-JD

Sothear Kim


                                   O R D E R


      The assented to motion to reschedule jury trial (document no.

201) filed by defendant is granted.            Trial is also continued as to

co-defendant Virak Tin unless an objection is filed on or before

June 18, 2007.

      Defendant shall file a waiver of speedy trial rights within 10

days.    The court finds that the ends of justice served by granting

a continuance outweigh the best interest of the public and the

defendant in a speedy trial, 18 U.S.C. § 3131(h)(8)(B)(iv), for the

reasons set forth in the motion.

      SO ORDERED.



                                           /s/ Joseph A. DiClerico, Jr.
                                           Joseph A. DiClerico, Jr.
                                           United States District Judge

Date:    June 15, 2007


cc:   Counsel of Record
      U.S. Marshal
      U.S. Probation
